EXHIBIT 1
                            EXHIBIT A TO ROBERT F, SMITH
                            NON-PROSECUTION AGREEMENT
                                   STATEMENT OF FACTS

        1. Robert F. Smith (.. Smith"), age 57, is a resident of Austin, Texas and a citizen of the
United States. From 2000 through May 2015, Smith engaged in an illegal scheme to conceal
income and evade taxes he owed by using an offshore trust structure with related foreign
corporations and offshore bank accounts, and by willfully filing a series of false documents with
the Internal Revenue Service ("IRS") and the Treasury Department.

        2. Beginning in or about 1997, while working as an investment banker at a leading global
investment bank and securities firm, Smith met and developed a business relationship with
Individual A, the CEO of a corporation that produces and markets computer software ("Company
A"), located in Houston, Texas. Smith, who received an MBA from Columbia University in
1994, worked extensively with Individual A in 1997 and 1998 regarding the potential sale of
Company A. During that process, Smith learned that Company A was purportedly owned by a
foreign holding company that, in turn, was purportedly owned by a foreign trust located in
Bermuda. Individual A told Smith that the foreign trust was created by Individual A's father in
the 1980s. Individual A, and others who worked for Individual A, told Smith that because
Company A was owned by the offshore trust, no United States income tax would be owed on the
profits gained from the sale of Company A's stock.

         3. The contemplated sale of Company A did not occur. Instead, Individual A approached
Smith about the prospect of creating a private equity fund ("Fund I") in which Individual A would
be the sole limited partner investor, through his foreign trust structure. Smith left his employment
with the investment bank and in 2000, founded a private equity firm located in San Francisco,
California. Smith has been the CEO of the private equity firm since that time. Individual A
initially made a $300 million commitment to Fund 1, which was later increased to $1 billion.
Although the Fund 1 partnership agreement listed Individual A's foreign trust entity as its sole
limited partner, it became apparent to Smith that Individual A completely controlled this foreign
trust structure and made all final and substantive decisions regarding its investments in Fund 1.

        4.     Individual A personally dictated the terms under which he would invest in Fund 1,
including that Fund 1 had to be located in the Cayman Islands and that Smith hold half his carried
interest in Fund I through a "perfected foreign trust" similar to the one used by Individual A.
Specifically, Smith would personally receive an 8 percent general partnership interest in Fund 1,
holding 4 percent through his LLC and the other 4 percent through an offshore trust that Smith
controlled. All Fund l profits Smith earned were to be paid through these entities. Individual A
told Smith that a portion of the general partner income and distributions from Fund 1 had to be
held offshore because Individual A did not want to bring his foreign trust, and related foreign
companies, into United States courts to litigate claims if Fund 1 failed to perform. Smith
understood from Individual A, that Individual A did not want the United States Internal Revenue
Service ("IRS") to know about his own foreign trust's participation in Fund 1. Individual A
presented this unconventional business proposal as a "take-it-or-leave-it" offer, dictating the
unique terms and unorthodox structure to the arrangement. Despite any misgivings, Smith
